Case 24-40158-NGH              Doc 202       Filed 04/18/24 Entered 04/18/24 15:29:14                      Desc Main
                                           Document      Page 1 of 19



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 Attorneys for Rabo AgriFinance LLC



                                 UNITED STATES BANKRUPTCY COURT

                                              DISTRICT OF IDAHO

     In re
                                                                      Chapter 11

     MILLENKAMP CATTLE, INC., et al.,                                 Case No. 24-40158 (NGH)

             Debtors.1                                                (Joint Administration Requested)


                              NOTICE OF INTENT TO SERVE SUBPOENA




 1
       The Debtors in the Chapter 11 Cases along with the last four digits of their respective tax identification number
       or registration number in the applicable jurisdiction are: Millenkamp Cattle, Inc. (3892); Idaho Jersey Girls LLC
       (4467); East Valley Cattle, LLC (8613); Millenkamp Properties, L.L.C. (4003); Millenkamp Properties II LLC
       (7719); Millenkamp Family LLC (8279); Goose Ranch, LLC (N/A); Idaho Jersey Girls Jerome Dairy LLC (3431);
       Black Pine Cattle LLC (N/A); and Millenkamp Enterprises LLC (N/A). The location of the Debtors’ service
       address for purposes of the Chapter 11 Cases is 471 N 300 W., Jerome, Idaho 83338.


 NOTICE OF INTENT TO SERVE SUPBOENA - 1
                                                                                                 59797.0007.17071821.1
Case 24-40158-NGH         Doc 202     Filed 04/18/24 Entered 04/18/24 15:29:14           Desc Main
                                    Document      Page 2 of 19



        Rabo AgriFinance LLC, in its capacity as agent and lender (“RAF”), by and through its

 attorneys of record, hereby files its Notice of Intent to Serve Supboena, pursuant to Federal Rule

 of Bankruptcy Procedure 9016, incorporating Federal Rule of Civil Procedure 45(a)(4).

        RAF intends to serve the supboena attached hereto and incorporated by reference herein as

 Exhibit A on the Debtors Millenkamp Cattle, Inc. et al.

  Dated: April 18, 2024                     HAWLEY TROXELL ENNIS & HAWLEY LLP


                                            /s/ Brent R. Wilson
                                            __________________________________________
                                            Brent R. Wilson, ISB No. 8936
                                            Attorneys for Rabo AgriFinance LLC




 NOTICE OF INTENT TO SERVE SUBPOENA - 2
                                                                                59797.0007.17071821.1
Case 24-40158-NGH          Doc 202     Filed 04/18/24 Entered 04/18/24 15:29:14         Desc Main
                                     Document      Page 3 of 19



                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 18th day of April, 2024, I electronically filed the
 foregoing NOTICE OF INTENT TO SERVE SUBPOENA with the Clerk of the Court using the
 CM/ECF system which sent a Notice of Electronic Filing to those identified in the CM/ECF system
 for this matter, at the time this document was filed, including the following persons:

  Matthew T. Christensen                         mtc@johnsonmaylaw.com
  Krystal R. Mikkilineni                         krystal.mikkilineni@dentons.com
  Tirzah R. Roussell                             tirzah.roussell@dentons.com
  U.S. Trustee                                   ustp.region18.bs.ecf@usdoj.gov
  Heidi Buck Morrison                            heidi@racineolson.com
  David A. Coleman                               david@colemanjacobsonlaw.com
  Jon B. Evans                                   evans.jb@dorsey.com
  Kimbell D. Gourley                             kgourley@idalaw.com
  Daniel C. Green                                dan@racineolson.com
  Scott C. Powers                                spowers@spencerfane.com
  Janine Patrice Reynard                         janine@averylaw.net
  Sheila Rae Schwager                            sschwager@hawleytroxell.com
  Brent Russel Wilson                            bwilson@hawleytroxell.com
  Zachary Fairlie                                zfairlie@spencerfance.com
  John O’Brien                                   jobrien@spencerfane.com
  Gery W. Edson                                  gedson@gedson.com
  Aaron Bell                                     abell@evanskeane.com
  Brian Faria                                    brian@sawtoothlaw.com
  Robert A. Faucher                              rfaucher@hollandhart.com
  Matthew W. Grimshaw                            matt@grimshawlawgroup.com
  Karen Lloyd                                    klloyd@grsm.com
  James Justin May                               jjm@johnsonmaylaw.com
  Rhett Michael Miller                           rmiller@magicvalley.law
  Robert E. Richards                             robert.richards@dentons.com
  Holly Roark                                    holly@roarklawboise.com
  Evan Thomas Roth                               evan@sawtoothlaw.com
  Meredith Leigh Thielbahr                       mthielbahr@grsm.com


 NOTICE OF INTENT TO SERVE SUBPOENA - 3
                                                                               59797.0007.17071821.1
Case 24-40158-NGH       Doc 202     Filed 04/18/24 Entered 04/18/24 15:29:14    Desc Main
                                  Document      Page 4 of 19



  John F. Kurtz, Jr.                            jfk@kurtzlaw.com
  And any others receiving cm/ecf notices




                                            /s/ Brent R. Wilson
                                            Brent R. Wilson




 NOTICE OF INTENT TO SERVE SUBPOENA - 4
                                                                       59797.0007.17071821.1
Case 24-40158-NGH   Doc 202     Filed 04/18/24 Entered 04/18/24 15:29:14   Desc Main
                              Document      Page 5 of 19
            Case 24-40158-NGH                              Doc 202            Filed 04/18/24 Entered 04/18/24 15:29:14                                    Desc Main
B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (12/15)
                                                                            Document      Page 6 of 19
                                              UNITED STATES BANKRUPTCY COURT
                                                        Idaho
  _________________________________________ District of _________________________________________
      Millenkamp Cattle, Inc., et al.
In re __________________________________________
                                           Debtor
                                                                                                                   24-40158-NGH
                                                                                                          Case No. _____________________
          (Complete if issued in an adversary proceeding)
                                                                                                                  11
                                                                                                          Chapter ___________
_________________________________________
                                          Plaintiff
                         v.                                                                               Adv. Proc. No. ________________
__________________________________________
                                        Defendant

         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
         INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

  To: ________________________________________________________________________________________
      All Debtors in the jointly administered chapter 11 case, as stated in Attachment A hereto.
                                              (Name of person to whom the subpoena is directed)

  ✔ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
  documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
  material: All Documents and Communications as requested in Attachment A attached hereto and incorporated herein by reference.

  PLACE                                                                                                                                   DATE AND TIME
           Hawley Troxell Ennis & Hawley LLP, 877 W. Main Street, Suite 200, Boise, ID 83702; or via email to bwilson@hawleytroxell.com
                                                                                                                                          May 1, 2024, 5:00 p.m. (MT)
      Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
  other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
  may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
  PLACE                                                                                                                                   DATE AND TIME




          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.

        April 18, 2024
  Date: _____________
                                           CLERK OF COURT

                                                                                                         OR
                                           ________________________                                                /s/ Brent R. Wilson
                                                                                                                   ________________________
                                           Signature of Clerk or Deputy Clerk                                            Attorney’s signature

  The name, address, email address, and telephone number of the attorney representing (name of party)
  ____________________________
  Rabo AgriFinance LLC               , who issues or requests this subpoena, are:
  Brent R. Wilson, Esq., Hawley Troxell Ennis & Hawley LLP, 877 W. Main Street, Suite 200, Boise, Idaho 83702: bwilson@hawleytroxell.com; (ph) 208-388-4852.
                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
          Case 24-40158-NGH                    Doc 202        Filed 04/18/24 Entered 04/18/24 15:29:14                                 Desc Main
B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 2)
                                                            Document      Page 7 of 19

                                                                PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .


          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                                  ________________________________________________
                                                                                                                Server’s signature

                                                                                  ________________________________________________
                                                                                                             Printed name and title


                                                                                  ________________________________________________
                                                                                                                 Server’s address


Additional information concerning attempted service, etc.:
          Case 24-40158-NGH                       Doc 202         Filed 04/18/24 Entered 04/18/24 15:29:14                               Desc Main
B2570 (Form 2570 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (Page 3)
                                                                Document      Page 8 of 19
                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
Case 24-40158-NGH         Doc 202     Filed 04/18/24 Entered 04/18/24 15:29:14                Desc Main
                                    Document      Page 9 of 19



                                         ATTACHMENT A



                                           DEFINITIONS

        1.      “You” and “Your” shall mean Debtors Millenkamp Cattle, Inc.; Idaho Jersey

 Girls LLC; East Valley Cattle, LLC; Millenkamp Properties, L.L.C.; Millenkamp Properties II

 LLC; Millenkamp Family LLC; Goose Ranch LLC; Idaho Jersey Girls Jerome Dairy LLC;

 Black Pine Cattle LLC; and Millenkamp Enterprises LLC, individually and collectively, as well

 as their agents, which agents specifically include William (Bill) Millenkamp and Davide Heida,

 employees, accountants, consultants, independent contractors, and any other individual or

 entities associated or affiliated with them or purporting to act on their behalf.

        2.      “All” means any and all.

        3.      “Document” or “Documents” means the original and any identical or non-

 identical copy, regardless of origin or location, of any writing or record of any type (whether

 paper or electronic) or description, including but not limited to, the original and any copy of any

 e-mail, text message, instant message, photograph, video tape, audio tape, book, pamphlet, or

 periodical, letter, memorandum, telegram, report, record, study, handwritten or other note,

 working paper, chart, paper, graph, index, tape disk, data sheet or data processing chart,

 computer file, computer printout, computer disk or digital storage medium, printed screens, data

 bases or any other written, recorded, transcribed, punched, taped, filed or graphic matter,

 however produced or reproduced.

        4.      “Communication” or “Communications” means and includes all spoken, written,

 visual or electronic transmission of information, including but not limited to documents, social

 media, conversations, meetings, discussions and telephone calls and any other process by which




                                                                                     59797.0007.17050225.8
Case 24-40158-NGH         Doc 202 Filed 04/18/24 Entered 04/18/24 15:29:14                 Desc Main
                                 Document    Page 10 of 19



 information is transmitted. The words “Communicate,” Communicated,” and “Communicating”

 mean to make, have made, or be making Communication.

        5.      “Relate To” or “Related” as used with respect to any category of Documents

 and/or Communication, refer to, mean and include all Documents that: (a) constitute or are

 encompassed within that category; (b) memorialize, concern, mention, summarize, or refer to

 matters within that category; or (c) may provide evidence concerning the subject matter of that

 category.

        6.      “Exhibit 1008” means the “Real Property Appraisal Summary,” admitted by You

 at the hearing on various first-day motions in this matter, held on April 9 and 10, 2024, a copy of

 which is attached hereto as Exhibit 1.

        7.      “Exhibit 1009” means the “Dairy Inventory Report Millenkamp Cattle et al April

 2, 2024,” admitted by You at the hearing on various first-day motions in this matter, held on

 April 9 and 10, 2024, a copy of which is attached hereto as Exhibit 2.

                                          INSTRUCTIONS

        1.      You are requested to produce All Documents and things designated below which

 are in your possession, custody or control, or in the possession, custody or control of your agents,

 attorneys, employees or representatives, wherever located, on or before May 1, 2024, at 5:00

 p.m. (MT) to Hawley Troxell Ennis & Hawley LLP, 877 W. Main Street, Suite 200, Boise,

 Idaho 83702, or via email to bwilson@hawleytroxell.com.

        2.      You are requested to produce the original and all non-identical copies, including

 all drafts, of each Document requested. If you are not able to produce the original of any

 Document, produce the best available copy.




                                                                                  59797.0007.17050225.8
Case 24-40158-NGH         Doc 202 Filed 04/18/24 Entered 04/18/24 15:29:14                   Desc Main
                                 Document    Page 11 of 19



        3.      Each Document request shall be construed independently and not with reference

 to any other Document request for the purpose of limitation.

        4.      A request for a Document shall be deemed to include a request for All transmittal

 sheets, certified mail/return receipt requested cards, cover letters, exhibits, enclosures, or

 attachments of any kind to the Document, in addition to the Document itself.

        5.      All Documents in electronic form which are responsive to the requests shall be

 produced in the native format (e.g., Microsoft Word, etc.). Documents which are produced in an

 electronic format may, in addition to native format, also be produced in .jpeg, .tif, or .pdf images

 (to provide for separate numbering and appropriate page designation).

        6.      You are requested to produce All Documents as they are kept in the usual course

 of business with any identifying labels, file markings or similar identifying features, and the

 Documents shall be organized and labeled to correspond to the appropriate request herein. If a

 portion of a Document is responsive, produce the entire Document. If there are no Documents

 responsive to any particular request or category, so state in writing.

        7.      If you claim any privilege as a basis for not answering any Document request or

 any portion thereof or for withholding any otherwise responsive Document, set forth in your

 response with respect to each such Document, in sufficient detail to identify the particular

 Document, and to allow the Court to adjudicate the validity of your claim of privilege, without

 disclosing the information which is claimed to be privileged, state the following:

                a.      The type of Document (e.g., letter, memorandum, report, etc.);

                b.      Its title and file reference, if any;

                c.      The subject matter of the information or Document; and

                d.      The basis of your claim of privilege, and each fact upon which you rely in




                                                                                    59797.0007.17050225.8
Case 24-40158-NGH          Doc 202 Filed 04/18/24 Entered 04/18/24 15:29:14                   Desc Main
                                  Document    Page 12 of 19



 claiming the privilege.

           8.    If any Document requested herein was at one time in existence, but has been lost,

 discarded or destroyed, identify each such Document, including its date, author and subject

 matter.

           9.    When referring to an entity, these Requests include all divisions, subsidiaries,

 affiliates, parent companies, predecessors and successors, and their respective present and former

 employees, agents, representatives, officers, directors, partners and attorneys of the entity.

           10.   When referring to an individual, these Requests include any person acting on

 behalf or at the direction (e.g., assistants, secretaries, other employees, etc.) of the individual.

           11.   Whenever appropriate in these requests, the singular shall be interpreted as plural

 and vice versa, and the present tense includes the past tense and vice versa, and the masculine

 include the feminine and the neuter.

                                            DOCUMENTS

           1.    All Documents that Relate To or form the basis for, the valuations identified in

 Exhibit 1008.

           2.    All Documents that Relate To or form the basis for, the valuations identified in

 Exhibit 1009.

           3.    All Communications including, but not limited to, emails and text messages, with

 and from All third parties, All appraisers or other valuation professionals, and/or their agents,

 Related To valuation of All of the personal property valued in Exhibit 1008.

           4.    All Communications including, but not limited to, emails and text messages, with

 and from All appraisers or other valuation professionals, and/or their agents, Related To

 valuation of All of the real property valued in Exhibit 1009.



                                                                                     59797.0007.17050225.8
Case 24-40158-NGH        Doc 202 Filed 04/18/24 Entered 04/18/24 15:29:14                 Desc Main
                                Document    Page 13 of 19



        5.      All prior drafts of All appraisals or other valuations responsive to this Subpoena.

        6.      All prior drafts of Exhibit 1008.

        7.      All prior drafts of Exhibit 1009.

        8.      All notes and memos, handwritten or electronic, Related To the valuations of

 Your personal property and real property identified in Exhibit 1008 and Exhibit 1009.

        9.      All Communications, including, but not limited to, emails and text messages, with

 and from All lenders You have contacted or who have contacted You Related To refinancing of

 Your debt, from January 1, 2022, to present day.

        10.     All Documents received from and sent to All lenders You have contacted or who

 have contacted You Related To refinancing of Your debt, from January 1, 2022, to present day.

        11.     All Communications, including, but not limited to, emails and text messages, with

 and from All entities or individuals You have contacted or who have contacted You Related To

 acquiring Your business or businesses, from January 1, 2022, to present day.

        12.     All Documents received from and sent to All entities or individuals You have

 contacted or who have contacted You Related To acquiring Your business or businesses, from

 January 1, 2022, to present day.

        13.     All Communications, including, but not limited to, emails and text messages, with

 and from Sandton Capital Solutions Master Fund VI, LP, and/or any related entity, Related To

 All exit financing proposals under the Debtor-in-Possession Loan Agreement, and All

 Communications specifically referencing Section 2.13 of the DIP Agreement at Docket Number

 170, filed April 11, 2024.

        14.     All Documents received from and sent to Sandton Capital Solutions Master Fund

 VI, LP, and/or any related entity, Related To All exit financing proposals under the Debtor-in-




                                                                                 59797.0007.17050225.8
Case 24-40158-NGH         Doc 202 Filed 04/18/24 Entered 04/18/24 15:29:14                 Desc Main
                                 Document    Page 14 of 19



 Possession Loan Agreement, and All Documents specifically referencing Section 2.13 of the DIP

 Agreement at Docket Number 170, filed April 11, 2024.

        15.     All Communications, including, but not limited to, emails and text messages, with

 and from Sandton Capital Solutions Master Fund VI, LP, and/or any related entity, Related To

 treatment under any chapter 11 plan of the Sandton Capital Solutions Master Fund VI, LP

 Debtor-in-Possession Loan Agreement.

        16.     All Documents received from and sent to Sandton Capital Solutions Master Fund

 VI, LP, and/or any related entity, Related To the Debtor-in-Possession Loan Agreement.

 treatment under any chapter 11 plan.

        17.     All financial models prepared by You or Your financial advisors, including but

 not limited to, Kander LLC and Eide Bailly LLP from January 1, 2022, to present.

        18.     All Documents that support, or form the basis for, the financial models produced

 in response to Request 17 above.

        19.     All Communications, including, but not limited to, emails and text messages, with

 and from Your financial advisors Related to All Your budgets and forecasts from January 1,

 2022, to present.

        20.     All Your audited GAAP financial statements, including income statements,

 balance statements, and monthly cash flow from January 1, 2019, to present. If audited financial

 statements are not available then provide all unaudited financial statements.

        21.     All Your weekly cash flow forecasts and actual results from January 1, 2023,

 through present.

        22.     All Your year End annual audited financials as of December 31, 2023. If audited

 financial statements are not available then provide all unaudited financial statements.




                                                                                  59797.0007.17050225.8
Case 24-40158-NGH        Doc 202 Filed 04/18/24 Entered 04/18/24 15:29:14              Desc Main
                                Document    Page 15 of 19



        23.     All Your long term three statement GAAP financial projections in the form of a

 working model, including all available supporting assumptions, with projections through

 December 31, 2029. If You do not have projections that extend to that date then You should

 provide the longest dated projections that they have with the accompanying support.

        24.     All Documents and Communications Related To non-operating assets or

 liabilities maintained by You.

        25.     All Documents and Communications Related To All transactions in the equity

 securities of You from April 1, 2019, through present.

        26.     All Documents and Communications Related To All acquisitions done by You,

 including the purchase price and implied revenue and EBITDA multiples, from April 1, 2019,

 through present.




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Case 24-40158-NGH   Doc 202 Filed 04/18/24 Entered 04/18/24 15:29:14    Desc Main
                           Document    Page 16 of 19



                             EXHIBIT 1
                                 [Exhibit 1008]




                                                               59797.0007.17056238.1
Case 24-40158-NGH       Doc 202 Filed 04/18/24 Entered 04/18/24 15:29:14      Desc Main
                               Document    Page 17 of 19



                             Real Property Appraisal Summary


                     Property Description                      2022 Appraised Value
  East Valley Dairy property (Cassia County)               $325,540,000.00
  German Dairy property (Jerome County)                    $4,250,000.00
  Idaho Jersey Girls Jerome Dairy (Jerome Cty)             $2,400,000.00
  Canyonlands property (Twin Falls Cty)                    $10,000,000.00
  Goose Ranch property (Cassia Cty)                        $10,265,000.00
  McGregor property (Jerome Cty)                           $3,869,280.00
  Moonshine Ranch (Cassia Cty)                             $5,800,000.00
  Calf Ranch (Jerome Cty)                                  $27,000,000.00
                                                  TOTAL $389,124,280.00
Case 24-40158-NGH   Doc 202 Filed 04/18/24 Entered 04/18/24 15:29:14    Desc Main
                           Document    Page 18 of 19



                             EXHIBIT 2
                                 [Exhibit 1009]




                                                               59797.0007.17056238.1
  Case 24-40158-NGH          Doc 202 Filed 04/18/24 Entered 04/18/24 15:29:14              Desc Main
                                    Document    Page 19 of 19

DAIRY INVENTORY REPORT
Millenkamp Cattle et al
April 2, 2024
     Description of Cattle       Number         Value Per Head             Total Value

Milking Cows                      34,141              2,200                75,110,200
Dry Cows                           5,544              2,200                12,196,800
Heifers Springing 18 mos +         5,329              2,400                12,789,600
Heifers 14-17 mos                  4,749              1,500                7,123,500
Open Heifers 6-13 mos              9,821              1,100                10,803,100
Heifer Calves 0-5 mos              9,786               450                 4,403,700
Verbal Heifers                       0                                          0
Company Cattle                     1,818              2,184                3,970,512
Pasture Cattle                    10,041              1,000                10,041,000
Fat Steers                           0                  0                       0
Beef Cows                          2,500              1,500                3,750,000

                                 83,729
                                                Total Herd Collateral        140,188,412




Feed Description               Tons             Cost/Ton                Total Value

Silage
Haylage/Triticale                      36,080   $        133.00              4,798,640.0
Corn Silage                           159,553   $        104.00             16,593,512.0

                                                      Total                  21,392,152

Hay & Other Feed
Dairy Hay                                 180   $        203.00                  36,540
Feeder Hay                                831   $        142.00                 118,002
Straw big bales                        14,000   $        104.00               1,456,000
Straw small bales                         135   $        195.00                  26,325
Commodities and other                                                         1,200,000
                                                      Total                   2,836,867
                                                    Total Feed               24,229,019
Less liens on feed                                                           11,848,316

Total Feed                                                                   12,380,703

Growing Crop Investment           3,857,439                                    3,857,439


Equipment/Rolling Stock
Tractors & Other Equipment                                                    19,294,200
Less current liens                                                             2,979,658
                                                                              16,314,542


Supplies, Parts, Inventory                                                     4,000,000


Calf Hutches                           21,280                 $100             2,128,000


Total                                                                       178,869,096
